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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

 IN RE:                                                        CASE NO.: 8:15-bk-09859-CED
                                                                               CHAPTER 7
 Joseph E. Donnelly,

    Debtor.

 ___________________________________/

                   MOTION FOR RELIEF FROM AUTOMATIC STAY
                       (Final Judgment of Foreclosure Obtained)

                                 NOTICE OF OPPORTUNITY TO
                              OBJECT AND REQUEST FOR HEARING

            Pursuant to Local Rule 2002-4, the Court will consider this motion, objection,
            or other matter without further notice or hearing unless a party in interest
            files an objection within twenty one (21) days from the date set forth on the
            proof of service attached to this paper plus an additional three days for
            service. If you object to the relief requested in this paper, you must file your
            objection with the Clerk of the Court at Sam M. Gibbons United States
            Courthouse, 801 N. Florida Avenue, Suite 555, Tampa, Florida 33602 and
            serve a copy on the movant’s attorney, Attorney for Secured Creditor, at
            Robertson, Anschutz & Schneid, PL, 6409 Congress Ave., Suite 100, Boca
            Raton, FL 33487, and any other appropriate persons within the time allowed.

            If you file and serve a response within the time permitted, the Court may
            schedule and notify you of a hearing, or the Court may consider the response
            and may grant or deny the relief requested without a hearing. If you do not
            file a response within the time permitted, the Court will consider that you do
            not oppose the relief requested in the paper, will proceed to consider the
            paper without further notice or hearing, and may grant the relief requested.

       Secured Creditor, PROVIDENT FUNDING ASSOCIATES, L.P., by and through the

undersigned counsel, hereby moves this Court, pursuant to 11 U.S.C. § 362(d), for a modification

of the automatic stay provisions for cause, and, in support thereof, states the following:




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1.     Debtor, JOSEPH E. DONNELLY, filed a voluntary petition pursuant to Chapter 13 of

       the United States Bankruptcy Code on September 28, 2015. An Order converting the

       case to a case under Chapter 7 was entered on January 27, 2016.

2.     Jurisdiction of this cause is granted to the Bankruptcy Court pursuant to 28 U.S.C. §

       1334, 11 U.S.C. § 362(d), Fed. R. Bankr. P. 4001(a), and all other applicable rules

       and statutes affecting the jurisdiction of the Bankruptcy Courts generally.

3.     Secured Creditor filed a foreclosure complaint against the Debtor(s) on August 27,

       2014 in the Circuit Court for the Thirteenth Judicial Circuit in and for Hillsborough

       County, Case Number: 14-CA-008681, due to the default under the terms of the Note

       and Mortgage securing Secured Creditor's interest in certain real property legally

       described as:

     LOT 6, BLOCK 22, OF HERITAGE HARBOR - PHASE 2A AND 8A,
     ACCORDING TO THE PLAT THEREOF, AS RECORDED IN PLAT BOOK
     83, PAGE 94, OF THE CURRENT PUBLIC RECORDS OF HILLSBOROUGH
     COUNTY, FLORIDA. APN#012928-1044

This property is located at the street address of: 4332 WATERFORD LANDING DRIVE,

LUTZ, FL 33558.

4.     A Final Judgment of Foreclosure (''Judgment'') was entered against the Debtor(s) on

       June 11, 2015 in the amount of $316,791.95. A true and accurate copy of the

       Judgment attached hereto as Exhibit ''A.'' The Judgment has not been satisfied by the

       Debtor(s).

5.     The appraised value of the property is $258,746.00.         See Exhibit ''B'' which is

       attached hereto and permissible as a property valuation under Fed. R. Evid. 803(8).



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6.    Based upon the Debtor(s)’ schedules, the property is claimed as non-exempt. The

      Trustee has not abandoned the property.

7.    Secured Creditor’s security interest in the subject property is being significantly

      jeopardized by Debtor(s)’ failure to comply with the terms of the subject loan

      documents while Secured Creditor is prohibited from pursuing lawful remedies to

      protect such interest. Secured Creditor has no protection against the erosion of its

      collateral position and no other form of adequate protection is provided.

8.    If Secured Creditor is not permitted to enforce its security interest in the collateral or

      be provided with adequate protection, it will suffer irreparable injury, loss, and

      damage.

9.    Secured Creditor respectfully requests this Court grant it relief from the Automatic

      Stay in this case pursuant to §362(d)(1) of the Bankruptcy Code, for cause, namely

      the lack of adequate protection to Secured Creditor for its interest in the above stated

      collateral. The value of the collateral is insufficient in and of itself to provide

      adequate protection which the Bankruptcy Code requires to be provided to the

      Secured Creditor. Secured Creditor additionally seeks relief from the Automatic Stay

      pursuant to §362(d)(2) of the Bankruptcy Code, as the collateral is unnecessary to an

      effective reorganization of the Debtor’s assets.

10.   Secured Creditor has incurred court costs and attorney’s fees in this proceeding and

      will incur additional fees, costs and expenses in foreclosing the Mortgage and in

      preserving and protecting the property, all of which additional sums are secured by

      the lien of the mortgage. Secured Creditor seeks an award of its reasonable attorneys’


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            fees and costs, or alternatively, leave to seek recovery of its reasonable attorneys’ fees

            and costs in any pending or subsequent foreclosure proceeding.

   11.      A Proposed Order accompanies this Motion. See Exhibit "C" attached hereto.

         WHEREFORE, Secured Creditor, prays this Honorable Court enter an order modifying

the automatic stay under 11 U.S.C. § 362(d) to permit Secured Creditor to take any and all steps

necessary to exercise any and all rights it may have in the collateral described herein, to gain

possession of said collateral, to waive the 14-day stay imposed by Fed.R.Bankr.P. 4001(a)(3), to

seek recovery of its reasonable attorneys’ fees and costs incurred in this proceeding, and to any

such further relief as this Honorable Court deems just and appropriate.

         I HEREBY CERTIFY that on April 7, 2016, I electronically filed the foregoing with the

Clerk of Court by using the CM/ECF system, and a true and correct copy has been served via

CM/ECF or United States Mail to the following parties:



JOHN E KASSOS, PA
2200 49TH STREET NORTH
ST PETERSBURG, FL 33710

JOSEPH E. DONNELLY
4332 WATERFORD LANDING DRIVE
LUTZ, FL 33558




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KELLY REMICK
CHAPTER 13 STANDING TRUSTEE
POST OFFICE BOX 6099
SUN CITY, FL 33571

UNITED STATES TRUSTEE - TPA 7/13, 7
TIMBERLAKE ANNEX, SUITE 1200
501 E POLK STREET
TAMPA, FL 33602




                                      ROBERTSON, ANSCHUTZ & SCHNEID, P.L.
                                      Attorney for Secured Creditor
                                      6409 Congress Ave., Suite 100
                                      Boca Raton, FL 33487
                                      Telephone: 561-241-6901
                                      Facsimile: 561-997-6909
                                      By: /s/ Vanessa D. Torres
                                      Vanessa D. Torres, Esquire
                                      Florida Bar Number 93113
                                      Email: vdtorres@rasflaw.com




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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION
                                   www.flmb.uscourts.gov

 IN RE:                                                             CASE NO.: 8:15-bk-09859-CED
                                                                                    CHAPTER 7
 Joseph E. Donnelly,

    Debtor.

 ____________________________________/

              ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY

        THIS CASE came on for hearing on , on PROVIDENT FUNDING ASSOCIATES, L.P.’s

(“Secured Creditor”) Motion for Relief from the Automatic Stay (Docket No. ##). The Court heard

argument of the Parties and has based its decision on the record. Accordingly, it is:




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         ORDERED:
    1.      Secured Creditor's Motion for Relief from Automatic Stay is GRANTED.

    2.      The automatic stay imposed by 11 U.S.C. § 362 is terminated as to the Secured Creditor’s

            interest in the following property located at 4332 WATERFORD LANDING DRIVE, LUTZ,

            FL 33558 in Hillsborough County, Florida, and legally described as:

         LOT 6, BLOCK 22, OF HERITAGE HARBOR - PHASE 2A AND 8A,
         ACCORDING TO THE PLAT THEREOF, AS RECORDED IN PLAT BOOK
         83, PAGE 94, OF THE CURRENT PUBLIC RECORDS OF HILLSBOROUGH
         COUNTY, FLORIDA. APN#012928-1044


    3.      The Order Granting Relief from Stay is entered for the sole purpose of allowing Secured

            Creditor to obtain an in rem judgment against the property described above. Secured Creditor

            shall not seek an in personam judgment against Debtor(s).

    4.      Secured Creditor is further granted relief in order to contact the Debtor(s) by telephone or

            written correspondence in order to discuss the possibility of a forbearance agreement, loan

            modification, refinance agreement or loan workout/loss mitigation agreement.

    5.      Attorneys’ fees in the amount of $400.00 and costs in the amount of $176.00 are awarded

            for the prosecution of this Motion for Relief from Stay, but are not recoverable from the

            Debtor(s) or the Debtor(s)’ Bankruptcy estate.



                                                   ###
Attorney, {ATTYNAME}, is directed to serve a copy of this order on interested parties and file a proof
of service within 3 days of entry of the order.
